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12   Namecheap, Inc. and WhoisGuard, Inc.
13
                               UNITED STATES DISTRICT COURT
14
                                     DISTRICT OF ARIZONA
15
16   Meta Platforms, Inc., et al.,                No. 2:20-cv-00470-GMS
17                     Plaintiffs,               NOTICE OF SERVICE OF
                                                 DISCOVERY
18          v.
19   Namecheap Inc., et al.,
20                     Defendants.
21
22   And related Counterclaims.
23
24
            Defendants and Counterclaimants Namecheap, Inc. and WhoisGuard, Inc. served the
25
     following discovery on Plaintiff and Counterclaim Defendant Meta Platforms, Inc. and
26
      Case 2:20-cv-00470-GMS Document 186 Filed 01/28/22 Page 2 of 2




 1   Plaintiffs Instagram LLC and WhatsApp LLC via email:
 2         On January 18, 2022:
 3               •      NC_013824 – NC_013841
 4         On January 7, 2022:
 5               •      NC_013795 – NC_013823
 6         On December 23, 2021:
 7               •      NC_013713-NC_013794
 8         On November 24, 2021:
 9               •      NC_013650-NC_013712
10
11   DATED this 28th day of January, 2022
12
                                              ROME & ASSOCIATES, A.P.C.
13
14
                                              By: s/ Brianna Dahlberg
15                                                Eugene Rome
                                                  Sridavi Ganesan
16                                                Brianna Dahlberg
17                                                 FENNEMORE CRAIG, P.C.
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18                                                 Mario C. Vasta
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20                                                 Counterclaimants Namecheap, Inc. and
                                                   WhoisGuard, Inc.
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